         Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 1 of 30



                    IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA

                                            :
 JILL STEIN, et al.,                        :
                                            :
                Plaintiffs,                 :
                                            :
        v.                                  :
                                            :
 KATHY BOOCKVAR, in her official
                                            : CIVIL ACTION NO. 16-CV-6287 (PD)
 capacity as Secretary of the Commonwealth;
                                            :
 and JONATHAN MARKS, in his official
                                            :
 capacity as Commissioner of the Bureau of
                                            :
 Commissions, Elections, and Legislation,
                                            :
                Defendants.                 :
                                            :
                                            :
                                            :

        MOTION FOR LEAVE TO FILE AMICUS BRIEF IN SUPPORT OF THE
                     COMMONWEALTH DEFENDANTS

       Election Systems & Software, LLC (“ES&S”), by and through its undersigned counsel,

respectfully moves this Honorable Court for leave to file an amicus brief (attached hereto as

Exhibit A) opposing Plaintiffs’ Motion to Enforce the Settlement Agreement, including by any

of the relief requested. ES&S incorporates by reference the attached memorandum of law in

support of this motion.

                                             Respectfully submitted,

                                             DUANE MORRIS LLP


Dated: December 17, 2019                     /s/ Alan C. Kessler
                                             Alan C. Kessler (22230)
                                             John J. Soroko (25987)
                                             Luke P. McLoughlin (312769)
                                             Andrew R. Sperl (311467)
                                             30 South 17th Street
                                             Philadelphia, PA 19103
                                             215.979.1000 / 215.979.1020 (fax)

                                             Counsel for Election Systems & Software, LLC
       Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 2 of 30



                  IN THE UNITED STATES DISTRICT COURT FOR
                   THE EASTERN DISTRICT OF PENNSYLVANIA

                                           :
JILL STEIN, et al.,                        :
                                           :
               Plaintiffs,                 :
                                           :
       v.                                  :
                                           :
KATHY BOOCKVAR, in her official
                                           : CIVIL ACTION NO. 16-CV-6287 (PD)
capacity as Secretary of the Commonwealth;
                                           :
and JONATHAN MARKS, in his official
                                           :
capacity as Commissioner of the Bureau of
                                           :
Commissions, Elections, and Legislation,
                                           :
               Defendants.                 :
                                           :
                                           :
                                           :

MEMORANDUM OF LAW IN SUPPORT OF ELECTION SYSTEMS & SOFTWARE,
        LLC’S MOTION FOR LEAVE TO FILE AMICUS BRIEF




                                           DUANE MORRIS LLP
                                           Alan C. Kessler (22230)
                                           John J. Soroko (25987)
                                           Luke P. McLoughlin (312769)
                                           Andrew R. Sperl (311467)
                                           30 South 17th Street
                                           Philadelphia, PA 19103
                                           215.979.1000 / 215.979.1020 (fax)

                                           Counsel for Election Systems & Software,
                                           LLC
         Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 3 of 30



                                PRELIMINARY STATEMENT

       The relief sought by Plaintiffs would cast this Court in the position of throwing the 2020

election season into complete chaos. The Commonwealth of Pennsylvania more than a year ago

certified the ExpressVote XL voting system of Election Systems & Software, LLC (“ES&S”) for

use throughout Pennsylvania (including Philadelphia, home to more than one million registered

voters). The relief Plaintiffs seek would de-certify ES&S’s voting machines prior to the 2020

primary and general elections. That would make impossible the orderly administration of

elections in Philadelphia and other Pennsylvania counties.

                    IDENTITY AND INTEREST OF AMICUS CURIAE

       ES&S serves approximately 3,000 of the nation’s more than 10,000 voting jurisdictions.

ES&S is 100% American-owned and, over thirty years, has grown into the industry leader with

voting-machine solutions for each phase of an election. ES&S has engaged in continuous

investment in research and development, resulting in new and improved voting machine

technology built to achieve the highest standards of security which allow election officials to run

secure and successful elections. Declaration of Dean C. Baumert (“Baumert Decl.”), Dkt. No.

123-5, ¶¶ 1-2.

       ES&S has contracts to provide the ExpressVote XL system to several counties in the

Commonwealth of Pennsylvania—including Philadelphia. Those counties, as well as ES&S,

have already invested thousands of hours in the procurement, installation, training and use of

ES&S’s election systems in preparation for multiple state, local, and federal elections, including

the April 2020 primary and November 2020 general elections. This investment of time and

resources by local governments and ES&S took place after, and in reliance upon, multiple rounds

of testing and certifications by federal and state authorities. ES&S has similarly invested

countless hours in partnership with those counties in preparation for the upcoming elections, and
           Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 4 of 30



is committed to the success of the ExpressVote XL system in Pennsylvania and throughout the

country.

       While ES&S is not a party to this litigation, and Plaintiffs do not base their motion on any

allegation that ES&S failed to comply with its contractual requirements, ES&S’s ExpressVote

XL machines are nonetheless the only voting machines to which reference is made in Plaintiffs’

motion, despite the fact that those machines have been heavily scrutinized, tested, certified by

the Commonwealth and the federal Election Assistance Commission, and re-approved by the

Commonwealth in September 2019 in accordance with Pennsylvania law. ES&S is uniquely

suited to provide the Court additional information about the security and functionality of those

machines. As such, ES&S files this motion and proposed amicus brief to provide additional

information that may be helpful to the Court in “insuring a complete and plenary presentation of

difficult issues so that the Court may reach a proper decision.” Newark Branch, N.A.A.C.P. v.

Harrison, 940 F.2d 792, 808 (3d Cir. 1991) (internal quotation omitted).

             REASONS WHY MOTION FOR LEAVE SHOULD BE GRANTED

       The role of an amicus is to assist the Court “in cases of general public interest by making

suggestions to the court, by providing supplementary assistance to existing counsel, and by

insuring a complete and plenary presentation of difficult issues so that the court may reach a

proper decision.” Harrison, 940 F.2d at 808 (internal quotation omitted). “A district court has

inherent authority to designate amici curiae to assist it in a proceeding.” Liberty Res., Inc. v.

Phila. Hous. Auth., 395 F. Supp. 2d 206, 209 (E.D. Pa. 2005). Federal courts in Pennsylvania

regularly permit non-parties to file amicus briefs. See, e.g., Burlington v. News Corp., No.

CIV.A. 09-1908, 2015 WL 2070063, at *3 (E.D. Pa. May 4, 2015) (permitting amicus brief to be

filed); Shank v. E. Hempfield Twp., No. 09-CV-02240, 2010 WL 2854136, at *3 (E.D. Pa. July

20, 2010); Perry v. Novartis Pharma. Corp., 456 F. Supp. 2d 678, 687 (E.D. Pa. 2006); Liberty


                                                  2
         Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 5 of 30



Res., Inc., 395 F. Supp. 2d at 209. Ultimately, the inquiry is whether the proposed amicus has

“a sufficient ‘interest’ in the case” and whether its proposed brief will be helpful and relevant.

Neonatology Assocs., P.A. v. C.I.R., 293 F.3d 128, 129 (3d Cir. 2002) (Alito, J.) (quoting Fed. R.

App. P. 29(b)).

       The Court should permit the filing of the attached amicus brief in this case. As described

above, ES&S has unique knowledge regarding the ExpressVote XL system and its performance.

ES&S also has particular expertise in election systems generally as an industry leader. ES&S is

one of the largest, if not the largest, election system providers in the United States, and it has

successfully responded to requests for proposals (“RFPs”) across Pennsylvania, undergoing

certification and testing, and executing the delivery, rollout of and training for new machines.

ES&S can confirm that the relief Plaintiffs demand is not only impractical but harmful to the

voters of Pennsylvania and to the orderly administration of elections.

       ES&S’s amicus brief provides technical and policy-related arguments that will assist the

Court. Indeed, “[e]ven when a party is very well represented, an amicus may provide important

assistance to the court” by ensuring the court understands how its ruling could affect entities not

before the court. Neonatology Assocs., 293 F.3d at 132. ES&S respectfully submits that the

arguments in the attached amicus brief will be helpful to the Court in deciding Plaintiffs’ motion.

                                          CONCLUSION

       For these reasons and for those set forth in the accompanying Exhibit A, ES&S requests

leave to file its amicus brief and requests that Exhibit A be docketed as its amicus brief. A

proposed form of order is enclosed.




                                                  3
       Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 6 of 30



                                   Respectfully submitted,

                                   DUANE MORRIS LLP


Dated: December 17, 2019           /s/ Alan C. Kessler
                                   Alan C. Kessler (22230)
                                   John J. Soroko (25987)
                                   Luke P. McLoughlin (312769)
                                   Andrew R. Sperl (311467)
                                   30 South 17th Street
                                   Philadelphia, PA 19103
                                   215.979.1000 / 215.979.1020 (fax)

                                   Counsel for Election Systems & Software, LLC




                                     4
Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 7 of 30



                         EXHIBIT A




                             A-1
      Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 8 of 30



                IN THE UNITED STATES DISTRICT COURT FOR
                 THE EASTERN DISTRICT OF PENNSYLVANIA

                                           :
JILL STEIN, RANDALL REITZ, ROBIN           :
HOWE, SHANNON KNIGHT, and EMILY            :
COOK,                                      :
                                           :
               Plaintiffs,                 :
                                           :
       v.                                  : CIVIL ACTION NO. 16-CV-6287 (PD)
                                           :
KATHY BOOCKVAR, in her official
                                           :
capacity as Secretary of the Commonwealth;
                                           :
and JONATHAN MARKS, in his official
                                           :
capacity as Commissioner of the Bureau of
                                           :
Commissions, Elections, and Legislation,
                                           :
               Defendants.                 :
                                           :

  ELECTION SYSTEMS & SOFTWARE, LLC’S BRIEF AS AMICUS CURIAE IN
         OPPOSITION TO PLAINTIFFS’ MOTION TO ENFORCE




                                           DUANE MORRIS LLP
                                           Alan C. Kessler (22230)
                                           John J. Soroko (25987)
                                           Luke P. McLoughlin (312769)
                                           Andrew R. Sperl (311467)
                                           30 South 17th Street
                                           Philadelphia, PA 19103
                                           215.979.1000 / 215.979.1020 (fax)

                                           Counsel for Election Systems & Software,
                                           LLC
          Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 9 of 30



                                  TABLE OF CONTENTS

                                                                                           Page

IDENTITY AND INTEREST OF AMICUS CURIAE                                                         1

ARGUMENT                                                                                       2

     I.       The ExpressVote XL was and is lawfully certified after careful scrutiny.         2

              A.     Federal Approval                                                          2

              B.     Pennsylvania Approval, Contracting, and Implementation                    4

     II.      De-certifying the ExpressVote XL would have dramatically harmful effects
              on Pennsylvania voters, Pennsylvania counties, and the 2020 electoral
              process                                                                          6

              A.     The relief Plaintiffs seek would endanger Pennsylvanians’ right to vote   6

              B.     The potential harm to Pennsylvania voters and counties has been
                     heightened because of Plaintiffs’ delay.                                  11

     III.     The ExpressVote XL machines are secure.                                          12

     IV.      Any claimed issues in Northampton County are not a basis on which to grant
              the relief sought by Plaintiffs.                                                 14

CONCLUSION                                                                                     17




                                               i
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 10 of 30



                                TABLE OF AUTHORITIES

                                                                                          Page

Newark Branch, N.A.A.C.P. v. Harrison, 940 F.2d 792 (3d Cir. 1991)                           2

Steve Friess, Inside the Recount, The New Republic, Feb. 15, 2017                            5

Gabriel Sherman, Experts Urge Clinton Campaign to Challenge Election Results in 3 Swing
States, New York Magazine, Nov. 22, 2016                                                     5

Andrew Seidman, et. al., Think the 2020 Pennsylvania primary won’t matter? Think again,
Philadelphia Inquirer, Dec. 8, 2019                                                         10




                                              ii
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 11 of 30



       The relief sought by Plaintiffs would cast this Court in the position of throwing the 2020

election season into complete chaos. The Commonwealth of Pennsylvania more than a year ago

certified the ExpressVote XL voting system of Election Systems & Software, LLC (“ES&S”) for

use throughout Pennsylvania (including Philadelphia, home to more than one million registered

voters). The relief Plaintiffs seek would de-certify ES&S’s voting machines prior to the 2020

primary and general elections. That would make impossible the orderly administration of

elections in Philadelphia and other Pennsylvania counties.

                    IDENTITY AND INTEREST OF AMICUS CURIAE

       ES&S serves approximately 3,000 of the nation’s more than 10,000 voting jurisdictions.

ES&S is 100% American-owned and, over thirty years, has grown into the industry leader with

voting-machine solutions for each phase of an election. ES&S has engaged in continuous

investment in research and development, resulting in new and improved voting machine

technology built to achieve the highest standards of security which allow election officials to run

secure and successful elections. Declaration of Dean C. Baumert (“Baumert Decl.”), Dkt. No.

123-5, ¶¶ 1-2.

       ES&S has contracts to provide the ExpressVote XL system to several counties in the

Commonwealth of Pennsylvania—including Philadelphia. Those counties, as well as ES&S,

have already invested thousands of hours in the procurement, installation, training and use of

ES&S’s election systems in preparation for multiple state, local, and federal elections, including

the April 2020 primary and November 2020 general elections. This investment of time and

resources by local governments and ES&S took place after, and in reliance upon, multiple rounds

of testing and certifications by federal and state authorities. ES&S has similarly invested

countless hours in partnership with those counties in preparation for the upcoming elections, and
           Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 12 of 30



is committed to the success of the ExpressVote XL system in Pennsylvania and throughout the

country.

       While ES&S is not a party to this litigation, and Plaintiffs do not base their motion on any

allegation that ES&S failed to comply with its contractual requirements, ES&S’s ExpressVote

XL machines are nonetheless the only voting machines to which reference is made in Plaintiffs’

motion, despite the fact that those machines have been heavily scrutinized, tested, certified by

the Commonwealth and the federal Election Assistance Commission, and re-approved by the

Commonwealth in September 2019 in accordance with Pennsylvania law. ES&S is uniquely

suited to provide the Court additional information about the security and functionality of those

machines. As such, ES&S files this motion and proposed amicus brief to provide additional

information that may be helpful to the Court in “insuring a complete and plenary presentation of

difficult issues so that the Court may reach a proper decision.” Newark Branch, N.A.A.C.P. v.

Harrison, 940 F.2d 792, 808 (3d Cir. 1991) (internal quotation omitted).

                                           ARGUMENT

I.     The ExpressVote XL was and is lawfully certified after careful scrutiny.

       A.       Federal Approval

       Since well before the ExpressVote XL was selected by Pennsylvania counties as their

chosen election machine, ES&S has engaged in continuous investment in research and

development, resulting in new and improved voting technology (built with the highest standards

of security) that helps election officials conduct secure and successful elections. One example of

such voting technology is the ExpressVote XL. Baumert Decl. ¶ 2. The ExpressVote XL is a

ballot-marking device that incorporates into a single unit the printing of a voter’s selections as a

paper voter-verifiable record and tabulation scanning. Id. ¶ 3.




                                                  2
         Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 13 of 30



         The ExpressVote XL, like ES&S’s other voting technology, has undergone extensive

evaluation at both the state and federal level. At the federal level, voting machines provided by

ES&S are certified by the Election Assistance Commission (“EAC”) and undergo robust testing

for accuracy, reliability, usability and security conducted by accredited independent testing

authorities. Id. ¶ 8. The ExpressVote XL is no exception. Id.

         ES&S voluntarily adheres to the EAC’s Federal Testing Program. Id. ¶ 9. Under that

program, ES&S submits all of its systems to voting system test laboratories accredited by the

National Institute of Standards and Technology (“NIST”). Id. These labs perform tests in

accordance with the federal voting system standards. Id. EAC-certified systems are required to

complete testing with zero errors in over one and one half million marked selections. Id.; see

also id. ¶¶ 13-15.

         The ExpressVote XL has been part of the EAC certification testing process for EVS

voting system releases 6.0.0.0, 6.0.2.0, 6.0.2.1, 6.0.4.0 and 6.1.0.0. Id. ¶ 15. Each release has

been certified as compliant with the EAC’s Voluntary Voting System Guidelines (“VVSG”) 1.0.

See id.; Election Assistance Commission, Certified Voting Systems, available at

https://www.eac.gov/voting-equipment/certified-voting-systems/ (last visited December 10,

2019).

         The EVS 6.0.0.0 voting system release includes ES&S’s Electionware Election

Management Software (EMS), precinct-ballot scanner/tabulators, high-speed central ballot

scanner/tabulators, as well as touch screen ballot marking and tabulating products that include

the ExpressVote XL. As part of this certification, the ExpressVote XL was subjected to

extensive accessibility, reliability, accuracy, security and other testing outlined in the VVSG




                                                 3
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 14 of 30



version 1.0, to which all voting systems being offered to Pennsylvania must be certified.

Baumert Decl. ¶ 13.

       EVSS 6.0.0.0 satisfied those testing requirements and received EAC certification on July

2, 2018, establishing its compliance with VVSG federal standards. Id. Each ES&S release

undergoes extensive security testing and ES&S submits a complete set of software components

to the voting systems testing labs for review. Id.

       B.      Pennsylvania Approval, Contracting, and Implementation

       Following EAC certification, the Pennsylvania Department of State first certified the

ExpressVote XL on November 30, 2018. Id. ¶ 19. That certification followed a rigorous

evaluation that covered six main areas: (1) source code review; (2) documentation review; (3)

system level testing; (4) security/penetration testing; (5) privacy analysis; and (6) usability

analysis. Id. ¶ 17. ES&S satisfied all criteria and received all necessary approvals under

Pennsylvania law to provide election machines to Pennsylvania’s voters.

       As attested to by the Commonwealth Defendants, multiple Pennsylvania counties—

including Philadelphia, home to more than one million registered voters—selected the

ExpressVote XL as their certified voting machine. See Declaration of Kathy Boockvar

(“Boockvar Decl.”), Dkt. No. 123-1, ¶¶ 75-77. Selection followed a lengthy and extensive

procurement process that consumed roughly one year, and involved more than eight City

departments. Declaration of Monique Nesmith-Joyner (“Nesmith-Joyner Decl.”), Dkt. No. 123-

3, ¶¶ 7-8, 18; see also Boockvar Decl. ¶ 79. Cumberland County’s procurement process also

lasted more than one year. Declaration of Bethany Salzarulo (“Salzarulo Decl.”), Dkt. No. 123-

4, ¶¶ 3-8. ES&S understands the burden that selecting an election system places on counties. In

addition to completing the extensive requirements of the procurement process, ES&S spent

significant time, effort and expense in addressing the specific contractual needs of individual


                                                  4
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 15 of 30



municipalities, delivering and implementing voting machines, and instructing county voting

officials and polling staff on the operation of machines.

       In Philadelphia, delivery and implementation of more than 3,700 ExpressVote XL

machines took place in 2019. Declaration of Joseph Lynch (“Lynch Decl.”), Dkt. No. 123-2,

¶¶ 8, 10. ES&S made nearly 30 shipments of voting machines and equipment, which machines

were then tested by the Philadelphia County Board of Elections. Id. ¶¶ 8, 10-11. ES&S likewise

invested significant time and effort in educating the public on the machines and how to use them.

The Board of Elections conducted 827 public demonstrations of the ExpressVote XL between

June 2019 and October 2019, and more than 100 poll worker trainings throughout the City. Id.

¶¶ 16, 20. A pilot election was conducted in August 2019 involving 80 ExpressVote XLs across

the City of Philadelphia and more than 100 Board of Elections employees. Id. ¶ 21.

       Although the ExpressVote XL was already fully certified by the Commonwealth in 2018,

and Philadelphia was implementing the procurement and use of the machines by early 2019, a

group of individuals submitted a petition1 challenging the certification of the ExpressVote XL on

July 17, 2019—over eight months after the Commonwealth certification. See Declaration of

Ilann M. Maazel, Dkt. No. 112-1, at Ex. B (“Re-examination Report”). The petitioners raised ten

alleged issues with the voting machines. The Pennsylvania Department of State was then

obligated by law to undertake a re-examination of the ExpressVote XL, and it faithfully



1
  The signatories to the July 17, 2019 petition include an attorney (John Bonifaz) affiliated with
Plaintiffs in this same case. See Steve Friess, Inside the Recount, The New Republic, Feb. 15,
2017 (“Bonifaz went to work to recruit Stein, the Green Party candidate” for recount litigation);
id. (“I took the information that she could do this to her.” (quoting Bonifaz)); accord Gabriel
Sherman, Experts Urge Clinton Campaign to Challenge Election Results in 3 Swing States, New
York Magazine, Nov. 22, 2016 (reporting that a group that included “John Bonifaz and J. Alex
Halderman . . . believes they’ve found persuasive evidence that results in Wisconsin,
Michigan, and Pennsylvania may have been manipulated or hacked”).



                                                 5
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 16 of 30



discharged that obligation. See id; Baumert Decl. ¶ 20. After an extensive re-examination, the

Department and its examiner once again determined that the ExpressVote XL satisfied the

requirements of the Election Code and is entitled to its certification. See Re-examination Report;

Baumert Decl. ¶ 22.

       The ExpressVote XL has been state certified in California, Delaware, Mississippi, New

Jersey, Pennsylvania and Texas. Baumert Decl. ¶ 11. It has already been sold to numerous

municipalities and localities throughout the country, including the State of Delaware; the

counties of Gloucester, Warren, Union, Middlesex, Hunterdon, and Morris in New Jersey; the

Village of Port Chester and the County of Erie in New York; and the counties of Philadelphia,

Northampton, and Cumberland in Pennsylvania. It has also been proposed to numerous others,

such as the counties of Hudson, Passaic, Mercer, Ocean, Cumberland, Somerset, Monmouth,

Camden, Atlantic, Bergen, Burlington, and Cape May in New Jersey; the counties of Albany,

Allegany, Cayuga, Chemung, Chenango, Livingston, Nassau, Onondaga, Ostego, Putnam,

Rockland, Schenectady, Warren, Washington and Yates and the municipalities of Herkimer and

Montgomery in New York; New York City; and Dauphin County in Pennsylvania.

II.    De-certifying the ExpressVote XL would have dramatically harmful effects on
       Pennsylvania voters, Pennsylvania counties, and the 2020 electoral process.

       A.      The relief Plaintiffs seek would endanger Pennsylvanians’ right to vote.

       As the Commonwealth Defendants explained in their opposition brief, the relief that

Plaintiffs seek would create electoral chaos throughout the Commonwealth in an election year

that includes (1) the April 2020 Pennsylvania Democratic Presidential Primary, (2) the 2020

general election for President of the United States, (3) elections for the House of Representatives,

(4) elections for numerous state and local offices in Pennsylvania, and (5) referenda and other

votes on public questions.



                                                 6
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 17 of 30



       The ExpressVote XL has already been evaluated and purchased in multiple Pennsylvania

counties, including Philadelphia. Three counties, consisting of more than 1.4 million registered

voters, have expended significant resources in procuring the ExpressVote XL and introducing

the system to their voters. In so doing, they have relied upon the careful examination, testing and

subsequent certification of the ExpressVote XL at the federal and state levels. Plaintiffs’

groundless, inexplicably delayed and last-minute attempt to “enforce” the Settlement Agreement

would disrupt the reliance interests of municipalities and voters across the Commonwealth in the

orderly administration of the upcoming elections. Indeed, such an outcome would be

“unnecessary and unfair” to all voters in the Commonwealth. See Memorandum Op., Dkt. 55, at

20.

       Because of the inexplicable tardiness of Plaintiffs’ latest challenge to the ExpressVote

XL, it is likely that the relief they seek would not result in next year’s elections proceeding with

different equipment, but rather that next year’s elections would descend into chaos. Petitioners

ask the Court to overlook the fact that it is a practical impossibility for different voting machines

to be procured, selected, delivered, stored, and set up–with training completed–in time for next

year’s elections (which, in the case of the very significant primary election, is just a few months

away). As the Secretary of State explained, implementation of a new voting system “takes a

great deal of time” – in general “many months, and often over a year.” Boockvar Decl. ¶¶ 78-79.

The process of reviewing machines, identifying needs, obtaining funding, and negotiating

contracts takes “about three to twelve months.” Id. ¶ 81. In Philadelphia, the expedited

procurement process for the ExpressVote XL (including obtaining $30 million in funding)

involved 16 months and coordination by eight City departments. Nesmith-Joyner Decl. ¶ 5.




                                                  7
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 18 of 30



       Once the procurement process is complete, significantly more work would remain. It

takes counties “at least three to eight months to seek delivery of the new systems, conduct

acceptance testing on the new systems, provide training of county election personnel and poll

workers, finalize and print ballots, conduct voter education campaigns, program details of the

elections into the equipment, and perform logic and accuracy testing.” Boockvar Decl. ¶ 82.

Before the 2002 election, for instance, the City of Philadelphia conducted about 500 community

demonstrations and over 100 trainings for poll workers to train them on the machines used that

year. Lynch Decl. ¶¶ 4-5. The Board performed 827 demonstrations of the ExpressVote XL

from June through October 2019. Id. ¶ 16. If Plaintiffs’ motion is granted, there will simply be

no time for this critical education in advance of the upcoming elections. As Secretary Boockvar

has attested, “[g]iven the complexity of the system and the short timeframe involved, changing

voting systems in short time risks confusing voters and election personnel.” Boockvar Decl. ¶

84.

       Further, the ExpressVote XL (and other voting machines) are large devices, which pose

real logistical challenges in storing and transporting them. The City of Philadelphia began

receiving ExpressVote XL units in April 2019, well before the November 2019 elections. Lynch

Decl. ¶ 8. The machines were shipped in deliveries of 60 to 240 machines. Id. The Board had

to lease additional warehouse space large enough to accommodate the machines and which was

appropriately climate controlled. Id. ¶ 9. Ultimately, Philadelphia took delivery of

approximately 3,750 machines, each of which required approximately one hour of time for initial

testing. Id. ¶¶ 10-11. In some cases, different polling locations would have to be identified

because the existing locations may not be able to physically accommodate the new machines.

Boockvar Decl. ¶ 83. For instance, the ExpressVote XL machines required over 800




                                                8
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 19 of 30



Philadelphia polling locations to be reevaluated because the ExpressVote XL machines were

larger than the previous machines. Lynch Decl. ¶ 22.

       As a partner to counties that have purchased the ExpressVote XL system from it, ES&S

is deeply involved in the implementation process. Were the ExpressVote XL system to be

replaced, ES&S would be required to collect, transport, and return to its facilities thousands of

state-certified machines that it had delivered. Poll workers and voters would need to be

instructed on how to use new machines, and demonstrations to the public would need to be held

at multiple locations throughout each county. These extensive efforts, with ES&S assistance,

already took place prior to the November 2019 elections but, were the Court to enter the relief

sought by Plaintiffs, would have to be replicated somehow in 2020 prior to the primary.

       Secretary Boockvar has affirmed that it is simply “too late for Counties to replace

ExpressVote XL machines in time for the 2020 primary, which will be held on April 28, 2020.”

Id. ¶ 80. That is apparent given the fact that “[t]he ballot for an election is finalized roughly 50

days before the election.” Lynch Decl. ¶ 23. For the April primaries, the ballot will need to be

finalized around March 9, 2020 – less than three months from now. This Court should not

permit Plaintiffs to substitute their unfounded assertions for the considered judgment of

Secretary Boockvar and the Pennsylvania Department of State.

       Plaintiffs claim that their intent is to protect the rights of Pennsylvania’s voters. On the

contrary, there is a significant risk that the relief sought by Plaintiffs would disenfranchise large

numbers of Pennsylvania voters, with statewide and even national consequences. Granting

Plaintiffs’ motion would leave several troubling options, each of which is a practical and/or legal

impossibility. One would be to delay the elections in those counties that have purchased

ExpressVote XL machines – Philadelphia, Northampton, and Cumberland. However, that would




                                                  9
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 20 of 30



create serious equal protection concerns by treating voters differently in different parts of the

state. Moreover, for statewide elections, the results for the entire state would be delayed until

voting in those counties could be completed. Another option would be to delay the vote in the

entire state. But that would risk the votes of citizens throughout the Commonwealth, and delay

the vote until exactly when? Alternatively, officials in Philadelphia, Northampton, and

Cumberland could be ordered to proceed by manually tallying votes with no voting system

whatsoever. Putting aside the fact that proceeding without a voting system in place almost

certainly carries more risk than proceeding with a proven system that has been approved by the

state, a manual vote count would take significant time – likely over 100 days in Philadelphia

County for the general election. Id. ¶ 28.

       Each of these options would pose serious risks not only for the rights of individual voters

but also for candidates, delegates and for the election as a whole. In the 2016 presidential

election, only 44,292 votes separated the Democratic and Republican candidates for President in

Pennsylvania. Even if new machines were somehow to be selected, procured, certified, and

installed by the time of the general election, it would almost certainly be impossible to do so by

the 2020 primary elections. Pennsylvania’s votes are critical to the integrity of the 2020 primary

election generally, and to the delegate count specifically. Indeed, as one press account has noted,

“Pennsylvania Democrats expect the state’s April 28 primary to play a key role in deciding who

will run against President Donald Trump in 2020.” Andrew Seidman, et al., Think the 2020

Pennsylvania primary won’t matter? Think again, Philadelphia Inquirer, Dec. 8, 2019 (available

at https://www.inquirer.com/politics/pennsylvania/pennsylvania-2020-democratic-presidential-

primary-20191208.html). Each vote is particularly important in light of the number of

presidential candidates that may remain in the race by the time of that primary election. The




                                                 10
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 21 of 30



effect of granting Plaintiffs’ motion would be to cast into doubt the results of those elections by

creating a risk that Pennsylvanians’ votes would not be counted.

       B.      The potential harm to Pennsylvania voters and counties has been heightened
               because of Plaintiffs’ delay.

       In addition to their motion lacking any merit, Plaintiffs’ unjustified delay in asserting

their current challenge to the ExpressVote XL makes it particularly inappropriate to impose on

Pennsylvania’s counties and voters the significant and irreparable harms that would be caused by

the relief that Plaintiffs seek, as well as the unwarranted and unfair burden it would place upon

ES&S. This court previously found that Plaintiffs engaged in an “unexplained, highly

prejudicial delay” in seeking injunctive relief. Memorandum Op., Dkt. 55, at 1. Plaintiffs now

likewise ignore all the contracting, certifying, and performing that has transpired since 2018 and

even prior. After the ExpressVote XL was initially certified (and the Settlement Agreement

entered) in November 2018, petitioners (who are associated with the current Plaintiffs) waited

until July 2019—eight months later—to challenge the Department of State’s certification. The

Department of State denied that petition on September 3, 2019, yet Plaintiffs waited almost three

more months before filing their current motion on November 26, 2019. Plaintiffs have proffered

no excuse for this delay.

       The consequence of Plaintiffs’ delay is not merely theoretical. As described above,

Philadelphia’s procurement process was lengthy. It began back in February 2018. Nesmith-

Joyner Decl. ¶ 7. Thus, throughout the period of Plaintiffs’ delay, the City of Philadelphia, other

counties, and ES&S have been working and expending considerable resources to implement the

ExpressVote XL machines. It would be inequitable to impose upon Pennsylvania’s voters,

counties, and ES&S the harm that would be caused by the relief Plaintiffs seek, particularly

where that harm would result in significant part from Plaintiffs’ own delay tactics.



                                                 11
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 22 of 30



III.   The ExpressVote XL machines are secure.

       ES&S values transparency and works closely with all levels of the U.S. government,

academia, and other experts to ensure the integrity of the votes being cast on its voting machines.

Baumert Decl. ¶ 5. ES&S has invited and welcomed numerous experts and government

officials, including critics, to view its election equipment first-hand and to discuss potential

improvements. Id. ¶ 6. ES&S actively collaborates with the U.S. Department of Homeland

Security; has all of its equipment certified through the EAC, a federal agency created by the

bipartisan Help America Vote Act of 2002; and voluntarily takes part in many other

collaborations with groups and individuals interested in protecting America’s voting systems. Id.

¶ 7.

         In addition to the extensive testing that the ExpressVote XL has undergone to obtain

certification, extensive testing and auditing is also performed before and after each election. Id.

¶¶ 23-24.

       Plaintiffs’ declarant merely speculates that it is “feasible for malware to cause the

machines to print bar codes that corresponded to candidates the voter did not select.”

Declaration of J. Alex Halderman (“Halderman Decl.”), Dkt. No. 112-2, ¶ 8. The declarant

similarly postures that “[i]t would be feasible for malware to compromise [the tabulator] and

cause paper records that have been rejected by voters to be tabulated as well as those that have

been accepted by voters.” Id. ¶ 7. Such a highly speculative compromise of the system is not

feasible as a practical matter.

       There is absolutely no record that any of the kind of hypothetical malicious cybersecurity

breaches Plaintiffs describe have ever taken place, either in actual elections or in testing of the

ExpressVote XL. Baumert Decl. ¶ 27. The design of the ExpressVote XL, coupled with all the

other layers of security that protect ES&S’s voting systems, means that any of these breaches are


                                                 12
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 23 of 30



a practical impossibility. Id. Election systems provided by ES&S employ a concept called

“security in depth” which utilizes layers of overlapping security measures to ensure that the

compromise of a single protection feature does not result in the compromise of the system’s

integrity. Id. ¶ 28. System-level protections include hardened software for programming the

election, encryption and digital signing of data to and from the machines, use of authorized data

transfer media, and locks and seals for physical protection. Id. ¶ 29. Voting machines that are a

part of this system utilize many of these same measures to prevent “hacking” or cybersecurity

compromises. In addition to those mentioned, voting machines certified to the VVSG1.0

standard are never connected to the internet. Id. ¶ 30.

       ES&S voting machines also have multiple layers of security protecting the data,

including unique encryption keys for every election. The machines will only accept the certified

type of USB media and will ignore all other types. The machines also verify that the media has

been programmed for the expected purpose, was programmed by the trusted software, and has

not been modified in any way. Id. ¶ 31. The ExpressVote XL provides the VVSG-required

ability to validate the operating system and application software installed on the machine,

allowing for audits before and after each election. Id. ¶ 32.

       All election programming data is stored and encrypted until it is loaded into random

access memory for use during machine operation. At such time, its digital signature is validated

to confirm that the data is from the trusted source and has not been altered. All vote and results

data generated is encrypted and digitally signed. Id. ¶ 33. The ExpressVote XL generates its

own public/private key pair for each election and digitally signs each artifact (log files, vote

records, results files, etc.) generated by the device during the election. The digital signatures are

validated by the system before any artifact is processed, ensuring that should unauthorized access




                                                 13
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 24 of 30



of a unit occur, it will be detected and reported to the user so no other units can be affected

through data transfer. Id. ¶ 34.

       The ExpressVote XL generates a detailed audit log of all actions and events that have

occurred on the unit, which can be printed at any time. Every action and event, including access

attempts, access of system functions and errors, is logged and timestamped. The log is digitally

signed each time it is updated to allow detection of any potential tampering with the entries. The

vote data is encrypted and digitally signed. Id. ¶ 35. ES&S also conducts thorough security

reviews of its entire supply chain to ensure that every component is trusted, tested and free of

malware. Every single item and manufacturer is approved and under engineering revision

control to ensure that only authorized components and firmware are used in the production of

voting machines. Id. ¶ 36.

       Moreover, even in the extraordinarily unlikely circumstance that these security measures

were breached, such breach would be identified in a post-election recount or audit. Because the

ExpressVote XL provides a voter-verified paper record of every vote, election officials would be

able to accurately recount the votes using the verified paper record, id. ¶ 37, which is precisely

what happened in Northampton County (although there was no security breach), infra.

IV.    Any claimed issues in Northampton County are not a basis on which to grant the
       relief sought by Plaintiffs.

       Any issues affecting the 2019 election in Northampton County were solely human error

issues completely unrelated to the complaints that Plaintiffs now assert in their motion and not

caused by any defect in the ExpressVote XL machines. Notably, the ExpressVote XL was used

successfully in Philadelphia’s 2019 elections. Baumert Decl. ¶ 60; Lynch Decl. ¶ 26.

       There were two issues with the 2019 Northampton County election and, again, neither is

related to the Settlement Agreement or, therefore, to the underlying motion. First, the



                                                 14
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 25 of 30



electronically tabulated vote (as opposed to the vote recorded on the paper ballot) reported

erroneous results for some candidates in some contests. The paper ballots printed by the

ExpressVote XL were used as a backup, and those ballots were used, as intended, to correctly

tabulate the votes. Baumert Decl. ¶ 61. Thorough analysis and extensive testing following the

election established that the issue was caused by an electronic ballot layout technique that had

not been properly tested and that caused the system to not attribute votes to certain candidates.

Id. ¶ 62. Although the ballot was displayed correctly on the screen and on paper ballots, an error

involving instructional text displayed on the screen created a misalignment in the database that

resulted in electronically recorded votes not being attributed to candidates in a particular position

relative to the instructional text. This was confirmed through testing that replicated the exact

electronic ballot used in Northampton County. Id. ¶ 63.

       In this replication, although the voter’s selections displayed correctly on the screen and

on the printed ballot, the system assigned the votes to the instructional text, thereby preventing

the electronically tabulated votes from registering for the intended candidate. Id. ¶ 64. When the

instructional text was removed in a recoded version of the election made for analysis purposes,

the results were captured accurately and showed all of the corresponding vote totals for all

candidates. This instructional text issue was ultimately one of human error in that a layout

technique was used that was not fully tested. Tabulators like the high-speed scanners used to

tabulate the paper ballots do not display the ballot and do not consider the instructional text. The

scanners counted the votes without issue by simply rescanning the paper ballots printed by the

ExpressVote XL. Id. ¶ 65.

       Second, some voters reported difficulty in making selections on the machines’

touchscreens. In particular, some voters reported that their touch was not registering the proper




                                                 15
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 26 of 30



location, or at all, and that the touch screen was too sensitive. They were nonetheless able to

verify their votes, as intended, with the paper ballots printed by the ExpressVote XL. Id. ¶ 66.

       Extensive testing indicated that the primary cause of difficulties with the touch screen

displays was that some machines (as many as 30%) were configured improperly at the factory

prior to delivery to Northampton County. In addition, the layout of the ballot unnecessarily

pushed voting selection areas to the very edge of the touch screen where the screens can be less

responsive. Id. ¶ 67. The ExpressVote XL uses infrared touch screen technology. Because the

sensors cover the entire border, it is possible for selections within the border area not to register

properly. Small boxes within the candidate selection box may have also caused an inadvertent

selection, by prompting voters to make selections that were on the “border” of another selection

option. Any such issues can and will be resolved with an improved ballot layout and corrected

machine configuration. Id. ¶ 68.

       Despite the issues with that specific election, the results, as obtained through the

ExpressVote XL machines, were still verifiably accurate. Each voter had the opportunity to read

and verify their ballot before they cast it, and the paper ballots that the voters read were used to

tabulate the total. Id. ¶ 69. In addition, the paper ballots were scanned, tabulated by election

officials, and audited for accuracy. The audit confirmed the accuracy of the election results. Id.

¶ 70. Indeed, not only did the issues in Northampton County have nothing to do with the

complaints that Plaintiffs raise in their motion, but the fact that an accurate count was obtained

despite the human errors in that election confirms the robustness of the paper ballot system in the

ExpressVote XL.

       As the Commonwealth Defendants correctly observe, “Plaintiffs[] . . . do not connect

these issues to any of their legal arguments. In fact, there is no connection.” Dkt. No. 123 at 31.




                                                  16
         Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 27 of 30



                                           CONCLUSION

         Plaintiffs claim to be protecting the interests of Pennsylvania voters. But the relief that

they would have this Court enter would have the exact opposite effect. Additionally, because of

Plaintiffs’ inexplicable delay in bringing their current motion, it is a practical impossibility to

replace the ExpressVote XL before critical upcoming elections. As a result, the rights of

Pennsylvania voters would be endangered, not protected, by the relief Plaintiffs seek from this

Court.

         For the reasons set forth above, Plaintiffs’ motion should be denied.


                                                Respectfully submitted,

                                                DUANE MORRIS LLP


Dated: December 17, 2019                        /s/ Alan C. Kessler
                                                Alan C. Kessler (22230)
                                                John J. Soroko (25987)
                                                Luke P. McLoughlin (312769)
                                                Andrew R. Sperl (311467)
                                                30 South 17th Street
                                                Philadelphia, PA 19103
                                                215.979.1000 / 215.979.1020 (fax)

                                                Counsel for Election Systems & Software, LLC




                                                  17
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 28 of 30



                    IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA

                                            :
 JILL STEIN, et al.,                        :
                                            :
                Plaintiffs,                 :
                                            :
        v.                                  :
                                            :
 KATHY BOOCKVAR, in her official
                                            : CIVIL ACTION NO. 16-CV-6287 (PD)
 capacity as Secretary of the Commonwealth;
                                            :
 and JONATHAN MARKS, in his official
                                            :
 capacity as Commissioner of the Bureau of
                                            :
 Commissions, Elections, and Legislation,
                                            :
                Defendants.                 :
                                            :
                                            :
                                            :

                                             ORDER

       AND NOW, this ___________ day of December, 2019, the motion of Election Systems

& Software, LLC (“ES&S”) for Leave to File Amicus Brief in Support of the Commonwealth

Defendants (“Motion”) is GRANTED. The amicus brief attached as Exhibit A to the Motion

shall be filed on the docket by the clerk.


                                                 BY THE COURT:


                                                 ______________________________
                                                 Honorable Paul S. Diamond
        Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 29 of 30



                   IN THE UNITED STATES DISTRICT COURT FOR
                    THE EASTERN DISTRICT OF PENNSYLVANIA

                                            :
 JILL STEIN, et al.,                        :
                                            :
                Plaintiffs,                 :
                                            :
        v.                                  :
                                            :
 KATHY BOOCKVAR, in her official
                                            : CIVIL ACTION NO. 16-CV-6287 (PD)
 capacity as Secretary of the Commonwealth;
                                            :
 and JONATHAN MARKS, in his official
                                            :
 capacity as Commissioner of the Bureau of
                                            :
 Commissions, Elections, and Legislation,
                                            :
                Defendants.                 :
                                            :
                                            :
                                            :

                                CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of December, 2019, I caused the foregoing Motion

for Leave to File Amicus Brief in Support of the Commonwealth Defendants, and supporting

materials, to be filed via ECF on the parties named below.

                                     Mark A. Aronchick, Esquire
                                     Hangley Aronchick Segal Pudlin & Schiller
                                     1 Logan Square #27
                                     Philadelphia, PA 19103
                                     Counsel for Defendants

                                     Joe H. Tucker, Jr., Esquire
                                     Tucker Law Group
                                     Ten Penn Center
                                     1801 Market Street, Suite 2500
                                     Philadelphia, PA 19103
                                     Counsel for Defendants

                                     Ilann Maazel, Esquire
                                     Douglas E. Lieb, Esquire
                                     Emery Celli Brinkerhoff and Abady LLP
                                     600 5th Avenue, 10th Floor
                                     New York, NY 10020
                                     Counsel for Plaintiffs
Case 2:16-cv-06287-PD Document 130 Filed 12/17/19 Page 30 of 30



                      John G. Papianou, Esquire
                      Brett M. Waldron, Esquire
                      Montgomery McCracken Walker & Rhoads LLP
                      1735 Market Street
                      Philadelphia, PA 19103
                      Counsel for Plaintiffs

                                   /s/ Luke P. McLoughlin

                                   Luke P. McLoughlin




                               2
